           Case 8:19-bk-00786-RCT          Doc 11     Filed 03/13/19     Page 1 of 6



                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

In re:                                                    Case No. 8:19-bk-00786-RCT
                                                          Chapter 7
Herbert L. Schimkus
and Patricia A. Schimkus,

      Debtor(s).
_____________________________/

                REPORT AND NOTICE OF INTENTION TO SELL
           PROPERTY OF THE ESTATE AND NOTICE OF ABANDONMENT
         NOTICE OF OPPORTUNITY TO OBJECT AND REQUEST FOR HEARING
   Pursuant to local rule 2002-4, the Court will consider the relief requested in this
paper without further notice or hearing unless a party-in-interest files a response
within 21 days from the date set forth on the proof of service, plus an additional three
days for service if any party was served by U.S. mail.
    If you object to the relief requested in this paper, you must file your response with
the Clerk of the Court at Sam M. Gibbons Courthouse, 801 N. Florida Ave., #555,
Tampa, FL 33602-3899, and serve a copy on the Trustee, Christine L. Herendeen, at
P.O. Box 152348, Tampa, FL 33684, and any other appropriate person(s) within the
time allowed. If you file and serve a response within the time permitted, the Court
will either schedule and notify you of a hearing, or consider the response and grant or
deny the relief requested without a hearing.
   If you do not file a response within the time permitted, the Court will consider
that you do not oppose the relief requested in the paper, will proceed to consider the
paper without further notice or hearing, and may grant the relief requested.

TO:      Creditors, Debtors and Parties in Interest

         Christine L. Herendeen, the Trustee duly appointed and acting for the above-captioned
estate reports that she intends to sell and abandon the following property of the estate of the
Debtor(s), under the terms and conditions set forth below:
                       PROPERTY OF THE ESTATE BEING SOLD

    1.      Description of Property: Excess equity in 2011 Chevrolet Colorado with VIN No.
            1GCHSDFP2B8115356 of $4,527.46; 2016 Chevrolet Trax with VIN No.
            3GNCJLSB2GL246739 of $593.70; 1981 Boston Whaler with HIN No.
            BNCH3571981K of $2,570.50; miscellaneous household goods and furnishings of
            $970.00; 4 televisions, laptop and 2 mobile phones of $276.45; 30 pcs family
            memorabilia and antique sewing machine of $145.50; miscellaneous hobby
             Case 8:19-bk-00786-RCT          Doc 11      Filed 03/13/19        Page 2 of 6



             equipment of $97.00; his and hers personal clothing of $97.00; 2 wedding bands, 3
             rings and miscellaneous costume jewelry of $291.00; 2 bicycles of $97.00; cash of
             $55.00
   2.        Manner of Sale: Private Sale
   3.        Terms of Sale:
             a. To: Debtor(s)
             b. Sale Price: Total is $9,720.61 which has been paid in full.
             c. All right, title, and interest of bankruptcy estate, if any.
             d. Subject to all liens and encumbrances, if any. No warranties of no liens. No
                 warranties of any kind. Subject to Debtor(s) allowed claim of exemption.
        The Trustee will entertain any higher bids for the purchase of the assets of the
Debtor(s) that the Trustee proposes to sell. Such bids must be in writing and accompanied by
a deposit of 100% of the proposed higher purchase price. Any higher bid must be received by
the Trustee at the address listed below no later than the close of business 21 days from the
date of mailing, as indicated in the Certificate of Service. If more than one bid has been
received, an auction will occur among said bidder(s) after 21 days.
        NOTICE IS HEREBY GIVEN that if no objection or request for hearing is filed
and served within twenty-one (21) days of the date of this report and notice, the
property described herein will be sold without further hearing or notice pursuant to
Local Bankruptcy Rule 6004-1.
                   PROPERTY OF THE ESTATE BEING ABANDONED

      PURSUANT TO 11 U.S.C. § 554 OF THE BANKRUPTCY CODE AND
FED.R.BANKR.P. 6007, NOTICE IS HEREBY GIVEN OF THE ABANDONMENT OF
THE FOLLOWING PROPERTY THAT IS BURDENSOME AND HAS NO EQUITY FOR
THE BENEFIT OF THE CHAPTER 7 ESTATE:
        1.       Scheduled real property: 4049 Headsail Dr., New Port Richey, FL 34652
        2.  Scheduled personal property: 4 dogs, cat and turtles; Checking account with
            Chase Bank #0399; Checking account with Chase Bank #1116; Savings
            account with Chase Bank #3933; Savings account with Achieva Credit Union;
            Merrill Edge IRA; AT&T Retirements Savings Plan; AT&T Management Cash
            Balance Program
  Dated: March 13, 2019
                                         Respectfully submitted,
                                         /s/ Christine L. Herendeen
                                         Christine L. Herendeen, Trustee
                                         P.O. Box 152348
                                         Tampa, FL 33684
                                         (813) 438-3833
                        Case 8:19-bk-00786-RCT             Doc 11      Filed 03/13/19       Page 3 of 6




                                   UNITED STATES BANKRUPTCY COURT
                                      MIDDLE DISTRICT OF FLORIDA
                                            TAMPA DIVISION
IN RE: HERBERT L SCHIMKUS                                       CASE NO: 8:19-bk-00786-RCT
       PATRICIA A SCHIMKUS                                      DECLARATION OF MAILING
                                                                CERTIFICATE OF SERVICE
                                                                Chapter: 7




On 3/13/2019, I did cause a copy of the following documents, described below,
Report and Notice of Intention to Sell Property of the Estate and Notice of Abandonment




to be served for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with
sufficient postage thereon to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and
incorporated as if fully set forth herein.
I caused these documents to be served by utilizing the services of BK Attorney Services, LLC d/b/a certificateofservice.com,
an Approved Bankruptcy Notice Provider authorized by the United States Courts Administrative Office, pursuant to Fed.R.
Bankr.P. 9001(9) and 2002(g)(4). A copy of the declaration of service is attached hereto and incorporated as if fully set forth
herein.
Parties who are participants in the Courts Electronic Noticing System ("NEF"), if any, were denoted as having been served
electronically with the documents described herein per the ECF/PACER system.
DATED: 3/13/2019
                                                          /s/ Christine L. Herendeen
                                                          Christine L. Herendeen
                                                          Herendeen Law, LLC
                                                          P.P. Box 152348
                                                          Tampa, FL 33684
                                                          813 438 3833
                             Case 8:19-bk-00786-RCT                 Doc 11       Filed 03/13/19         Page 4 of 6




                                        UNITED STATES BANKRUPTCY COURT
                                           MIDDLE DISTRICT OF FLORIDA
                                                 TAMPA DIVISION
 IN RE: HERBERT L SCHIMKUS                                              CASE NO: 8:19-bk-00786-RCT
        PATRICIA A SCHIMKUS
                                                                        CERTIFICATE OF SERVICE
                                                                        DECLARATION OF MAILING
                                                                        Chapter: 7




On 3/13/2019, a copy of the following documents, described below,

Report and Notice of Intention to Sell Property of the Estate and Notice of Abandonment




were deposited for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with sufficient postage thereon
to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and incorporated as if fully set forth herein.

The undersigned does hereby declare under penalty of perjury of the laws of the United States that I have served the above referenced document
(s) on the mailing list attached hereto in the manner shown and prepared the Declaration of Certificate of Service and that it is true and correct to
the best of my knowledge, information, and belief.

DATED: 3/13/2019




                                                                            Jay S. Jump
                                                                            BK Attorney Services, LLC
                                                                            d/b/a certificateofservice.com, for
                                                                            Christine L. Herendeen
                                                                            Herendeen Law, LLC
                                                                            P.P. Box 152348
                                                                            Tampa, FL 33684
                       Case 8:19-bk-00786-RCT
PARTIES DESIGNATED AS "EXCLUDE"                       Doc
                                WERE NOT SERVED VIA USPS   11 CLASS
                                                         FIRST   Filed 03/13/19 Page 5 of 6
                                                                     MAIL
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM

CASE INFO                                EXCLUDE                                  EXCLUDE
1LABEL MATRIX FOR LOCAL NOTICING         ROBERTA A COLTON                         MB FINANCIAL BANK NA
113A8                                    TAMPA
CASE 8-19-BK-00786-RCT                   FL
MIDDLE DISTRICT OF FLORIDA
TAMPA
WED MAR 13 09-20-00 EDT 2019


                                         DEBTOR
NATIONSTAR MORTGAGE LLC DBA MR COOPER                                             PATRICIA A SCHIMKUS
CO LINDSEY SAVASTANO                     HERBERT L SCHIMKUS                       4049 HEADSAIL DR
SHAPIRO FISHMAN GACH LLP                 4049 HEADSAIL DR                         NEW PORT RICHEY FL 34652-4483
2424 NORTH FEDERAL HIGHWAY SUITE 360     NEW PORT RICHEY FL 34652-4483
BOCA RATON FL 33431-7701




ACHIEVA CU                               ACHIEVA CU                               AMERICAN EXPRESS NATIONAL BANK
10125 ULMERTON RD                        ATTN BANKRUPTCY                          CO BECKET AND LEE LLP
LARGO FL 33771-3532                      PO BOX 1500                              PO BOX 3001
                                         DUNEDIN FL 34697-1500                    MALVERN PA 19355-0701




AMEX                                     AMEX                                     BANK OF AMERICA
CORRESPONDENCEBANKRUPTCY                 PO BOX 297871                            4909 SAVARESE CIRCLE
PO BOX 981540                            FORT LAUDERDALE FL 33329-7871            FL1-908-01-50
EL PASO TX 79998-1540                                                             TAMPA FL 33634-2413




BANK OF AMERICA                          BAYCARE HEALTH SYSTEM                    CITIBANKTHE HOME DEPOT
PO BOX 982238                            2985 DREW STREET                         ATTN RECOVER
EL PASO TX 79998-2238                    CLEARWATER FL 33759-3012                 PO BOX 790034
                                                                                  ST LOUIS MO 63179-0034




CITIBANKTHE HOME DEPOT                   CITICARDS CBNA                           CITICARDS CBNA
PO BOX 6497                              CITI BANK                                PO BOX 6217
SIOUX FALLS SD 57117-6497                PO BOX 6077                              SIOUX FALLS SD 57117-6217
                                         SIOUX FALLS SD 57117-6077




COMENITYCBDTLFIRSTFIN                    COMENITYCBDTLFIRSTFIN                    DENTAL FIRST FINANCING
ATTN BANKRUPTCY DEPT                     PO BOX 182120                            PO BOX 659622
PO BOX 182125                            COLUMBUS OH 43218-2120                   SAN ANTONIO TX 78265-9622
COLUMBUS OH 43218-2125




DOCTORS HOSPITAL OF SARASOTA             FREEDOM FINANCIAL ASSET MANAGEMENT LLC   INTERNAL REVENUE SERVICE
RESURGENT CAPITAL SERVICES               ATTN BANKRUPTCY DEPARTMENT               CENTRALIZED INSOLVENCY OPERATIONS
PO BOX 1927                              PO BOX 2340                              PO BOX 7346
GREENVILLE SC 29602-1927                 PHOENIX AZ 85002-2340                    PHILADELPHIA PA 19101-7346




MB FINANCIAL BANK                        MB FINANCIAL BANK                        MR COOPER
6111 N RIVER RD                          ATTN BANKRUPTCY DEPT                     350 HIGHLAND
ROSEMONT IL 60018-5111                   800 WEST MADISON STREET                  HOUSTON TX 77009-6623
                                         CHICAGO IL 60607-2683
                       Case 8:19-bk-00786-RCT
PARTIES DESIGNATED AS "EXCLUDE"                       Doc
                                WERE NOT SERVED VIA USPS   11 CLASS
                                                         FIRST   Filed 03/13/19 Page 6 of 6
                                                                     MAIL
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM

MR COOPER                                NAVIENT                                  NAVIENT
ATTN BANKRUPTCY                          123 S JUSTISON ST                        ATTN BANKRUPTCY
8950 CYPRESS WATERS BLVD                 WILMINGTON DE 19801-5360                 PO BOX 9000
COPPELL TX 75019-4620                                                             WILES-BARR PA 18773-9000




PNC MORTGAGE                             PNC MORTGAGE                             SUNTRUST BANK
ATTN BANKRUPTCY                          PO BOX 8703                              ATTN SUPPORT SERVICES
3232 NEWMARK DRIVE                       DAYTON OH 45401-8703                     PO BOX 85092
MIAMISBURG OH 45342-5433                                                          RICHMOND VA 23286-0001




SUNTRUST BK TAMPA BAY                    SUNTRUST BK TAMPA BAY                    SYNCHRONY BANKAMAZON
ATTN BANKRUPTCY                          PO BOX 3303                              ATTN BANKRUPTCY DEPT
MAIL CODE VA-RVW-6290                    TAMPA FL 33601-3303                      PO BOX 965060
PO BOX 85092                                                                      ORLANDO FL 32896-5060
RICHMOND VA 23285-5092




SYNCHRONY BANKAMAZON                     WELLS FARGO BANK NA                      WELLS FARGO HOME MORTGAGE
PO BOX 965015                            WELLS FARGO HOME MORTGAGE AMERICAS       ATTN BANKRUPTCY
ORLANDO FL 32896-5015                    SERVICING                                PO BOX 10335
                                         ATTN BANKRUPTCY DEPT MAC X7801-014       DES MOINES IA 50306-0335
                                         3476 STATEVIEW BLVD
                                         FORT MILL SC 29715-7203



CM/ECF E-SERVICE                         CM/ECF E-SERVICE                         CM/ECF E-SERVICE
VICTOR H VESCHIO +                       GEOFFREY J PETERS +                      UNITED STATES TRUSTEE   TPA713 +
GIBBONS NEUMAN                           WELTMAN WEINBERG REIS CO LPA             TIMBERLAKE ANNEX SUITE 1200
3321 HENDERSON BOULEVARD                 3705 MARLANE DRIVE                       501 E POLK STREET
TAMPA FL 33609-2921                      GROVE CITY OH 43123-8895                 TAMPA FL 33602-3949




CM/ECF E-SERVICE                         CM/ECF E-SERVICE                         EXCLUDE
SANDRA H DAY +                           LINDSEY A SAVASTANO +                    CHRISTINE L HERENDEEN ATTORNEY FOR
THE DAY LAW OFFICE                       SHAPIRO FISHMAN AND GACHE LLP            TRUSTEE
PO BOX 5535                              2424 NORTH FEDERAL HIGHWAY               PO BOX 152348
SPRING HILL FL 34611-5535                SUITE 360                                TAMPA FL 33684-2348
                                         BOCA RATON FL 33431-7701



EXCLUDE                                  CM/ECF E-SERVICE
CHRISTINE L HERENDEEN +                  NOTE ENTRIES WITH A + AT THE END OF
PO BOX 152348                            THE
TAMPA FL 33684-2348                      NAME HAVE AN EMAIL ADDRESS ON FILE IN
                                         CMECF
